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From:           CFPB_OfficeOfTheDirector
To:             _DL_CFPB_AllHands; _DL_CFPB_AllHands_Contractors
Subject:        Instructions from Acting Director
Date:           Monday, February 3, 2025 10:59:59 AM


Colleagues,

Secretary of the Treasury Bessent has been named Acting Director of the CFPB,
effective January 31, 2025. As Acting Director, Secretary Bessent is committed to
appropriately stewarding the agency pending new leadership. In order to promote
consistency with the goals of the Administration, effective immediately, unless
expressly approved by the Acting Director or required by law, all employees,
contractors, and other personnel of the Bureau are directed:

       Not to approve or issue any proposed or final rules or formal or informal
       guidance.
       To suspend the effective dates of all final rules that have been issued or
       published but that have not yet become effective.
       Not to commence, take additional investigative activities related to, or settle
       enforcement actions.
       Not to issue public communications of any type, including publication of
       research papers.
       Not to approve or execute any material agreements, including related to
       employee matters or contractors.
       Not to make or approve filings or appearances by the Bureau in any litigation,
       other than to seek a pause in proceedings.

If you have any questions, please raise issues through your existing management for
consideration by the Acting Director.

Thank you.
